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          Defendant Jarvis’ Reply Motion to Dismiss

                           Exhibit B, Part 2

                         Professor Uphoff’s CV
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                               RODNEY J. UPHOFF
                       UNIVERSITY OF MISSOURI - COLUMBIA
                                 SCHOOL OF LAW
                               213 HULSTON HALL
                              COLUMBIA, MO 65211
                                   (573) 882-3035

PRIOR LEGAL EXPERIENCE

    2001 - Present         Elwood Thomas Missouri Endowed Professor of Law, University of Missouri
                           - Columbia

    2005 - Present         Director - University of Missouri South African Educational Program

    2002 - 2005            Associate Dean - Academic Affairs, University of Missouri - Columbia,
                           Columbia, Missouri

    1997 - 2001            Professor/Director Clinical Legal Education, University of Oklahoma College
                           of Law, Norman, Oklahoma.

    2000 (Fall Semester)   Visiting Elwood Thomas Professor of Law, University of Missouri -
                           Columbia

    1990 - 1996            Associate Professor/Associate Director Clinical Legal Education, University
                           of Oklahoma College of Law

    1988 - 1990            Associate, Gimbel, Reilly, Guerin & Brown, 111 East Kilbourn Avenue,
                           Milwaukee, Wisconsin 53202
                           Private law practice focusing almost exclusively on personal injury and
                           products liability litigation.

    1984 - 1988            Associate Clinical Professor/Director, Legal Defense Project, University of
                           Wisconsin Law School, Madison, Wisconsin. Directed clinical program in
                           which law students represented criminal defendants under the supervision of
                           one of the clinical instructors. Also, taught trial advocacy and professional
                           responsibilities courses.

    1979 - 1984            Attorney/Chief Staff Attorney, State Public Defender Office, Milwaukee,
                           Wisconsin.     Together with the Director, shared responsibility for
                           administering the Milwaukee Office and supervising a staff of 41 attorneys.
                           Handled a caseload of felony, misdemeanor and paternity cases. Also
                           responsible for conducting the training of new staff attorneys and developing
                           programs to improve the trial skills of the staff attorneys.
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    1978 - 1979            Trial Attorney, Legal Aid Society, Milwaukee, Wisconsin. Represented
                           indigent criminal defendants charged with felony and misdemeanor offenses.
    1977 - 1978            Consumer Attorney, Office of the Commissioners of Insurance, Madison,
                           Wisconsin. Responsible for enforcement activities of the department;
                           reviewed and drafted legislation and administrative rules; provided legal advice
                           to the Commissioner and department staff.

    1976 - 1977            Associate, Jacobs and Doyle, Madison, Wisconsin.             Private law firm
                           concentrating on civil and criminal litigation.

EDUCATIONAL BACKGROUND

    1973 - 1976            University of Wisconsin Law School, J.D.
                           (Honors Graduate)

    1972 - 1973            London School of Economics, M.Sc.
                           (International Relations)
                           International Rotary Fellow

    1968 - 1972            University of Wisconsin, B.A( Honors Program).
                           (Political Science),
                           Phi Beta Kappa, Graduating Speaker at 1972 Honors Commencement.

TEACHING

    University of Missouri-Columbia (2001 - Present)
           Criminal Procedure
           Professional Responsibilities
           Criminal Litigation Skills
           Trial Practice
           Criminal Ethics Seminar

    University of Florida (2007)
            Police Practices

    University of Oklahoma (1990 - 2001)
           Criminal Procedure
           Professional Responsibility
           Criminal Defense Clinic
           Criminal Litigation Skills
           Interviewing & Counseling
           Legal Aid Clinic
           Civil Litigation Skills
           Prisoners' Rights Clinic
           Trial Techniques
           Legal Externship
           Professionalism Seminar
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    University of Wisconsin (1984 - 1988)
           Legal Defense Project (clinic course)
           Trial Advocacy
           Professional Responsibility
           Criminal Litigation

    Harvard University (Sept. 1994), (Sept. 1995), (Sept. 1996) & (Sept. 1997)
           Trial Advocacy Workshop

    University of Giessen (West Germany)
           Seminar on the American Criminal Justice System (Summer 1988)

    Karl-Franzens University (Graz, Austria)
           Seminar on American Criminal Justice System (Oct. 12-16, 1998)

     University of Cape Town ( South Africa)
           Comparative Criminal Justice( June 14th- July, 21, 2007)

   University of Western Cape( Cape Town, South Africa)
            Comparative Criminal Justice Administration (June 21 - July 8, 2004), (June 20 - July 7, 2005)
            & (July 4 - 15, 2006)
            Alternative Dispute Resolution ( July 20 - July 31, 2003)

COMMITTEE, BOARD AND BAR MEMBERSHIPS

    Bar Admissions

    State Bar of Missouri (2002)
    State Bar of Oklahoma (1990-2007)
    State Bar of Wisconsin (1976)
    U.S. District Court Western District Wisconsin (1976)

    Professional Associations

    American Bar Association
    Cleveland County Bar Association
    Clinical Legal Education Association
    Missouri Bar Association
    National Association of Criminal Defense Lawyers
    Oklahoma Association of Criminal Defense Lawyers
    Oklahoma Bar Association
    Section on Clinical Education, American Association of Law Schools
    Wisconsin Bar Association


    Committees

    University and Law School

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         Present

M.U. Diversity Committee (2003 - present)
M.U. Honor Code Committee (2003 - present)
M.U. Council on International Initiatives (2003 - present)
M.U. Study Abroad Advisory Council (2002-present)
M.U. LL.M. Admissions (2002-present)

  Past

M.U. Chairs Council (2002-2005)
M.U. Clinical & Skills Committee (2001-2005)
M.U. Curriculum Committee (2001-2005)
M.U. Affirmative Action (2002-2003)
M.U. Certificate Committee (2001-2002)
M.U. Honor Code Committee, Chair (2001-2002)
O.U. Curriculum & Scheduling Committee (1999-2001)
O.U.Building Committee (1999-2001)
O.U. Code of Academic Responsibility Appeals Board (1999-2001)
O.U. Academic Appeals Board (1999-2001)
O.U. Enrichment Committee (1999-2001)
O.U. Athletic Council - Budget Sub-Committee, Chair (1996-98)
O.U. College of Law Enrichment Committee, Chair (1997-98)
O.U. College of Law Hearing Tribunal (Alternate) (1997-98)
O.U. College of Law Personnel Committee, Chair (1997-98)
O.U. College of Law, Search Committee for Director Indian Law & Police Center, Chair (1997- 98)
O.U. Legal Panel (1993-96)
O.U. College of Law Dean Selection Committee (1996)
O.U. College of Law Enrichment Committee, Chair (1995-96) (1996-97)
O.U. Law School Architect Selection Committee (1995)
O.U. College of Law Ad Hoc Committee on Honor Code (1993-95)
O.U. College of Law Academic Appeals (Alternate 1994-95)
O.U. College of Law Self-Study (1993-94)
O.U. College of Law Hearing Tribunal (Alternate) (1993-97)
O.U. Athletic Council (1991-93)
O.U. College of Law Curriculum Revision (1992-93)
O.U. College of Law Scholarship & Awards (1990-95)
O.U. College of Law Law Day - Moot Court (1990-93)
O.U. College of Law Hearing Tribunal (1990-91)
O.U. College of Law Personnel (1991-92) (1996-97)
O.U. College of Law Council of Academic Responsibility (1991-92)
O.U. College of Law Law Center Facilities (1991-92)

National, State & Local

         Present


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       Member, Defense Services Committee, ABA Criminal Justice Section (1991 - Present)

               Past
       Member, Board of Editors, Clinical Law Review (1996-2001)
       Member, Oklahoma Indigent Defense System Board (1995-1998)
       Oklahoma Association of Criminal Defense Lawyers Board of Directors (1993 -1998)
       Oklahoma Indian Legal Services, Treasurer & Board of Directors (1995 - 1998)
       Individual Rights Council, State Bar of Wisconsin (1987 - 1990)
       District Committee, Wisconsin Board of Professional Responsibility (1987 - 1990)
       AALS, Section on Clinical Legal Education, Alternatives Committee (1991)
       AALS, Section on Clinical Legal Education, Annual Meeting Planning Committee (1990)
       Cleveland County Bar Association, Legal Service Availability Committee (1992-93)
       Legal Intern Committee, Oklahoma Bar Association (1991 - 1993)
       Advisory Council to Oklahoma Indigent Defense System Board (1992 - 1995)
       AALS, Section of Clinical Legal Education, Promotion and Tenure Committee (Co-chair) (1990 -
              1996)
       CLEA, Nominations Committee (1997)
       AALS, Section of Clinical Legal Education, Awards Committee (1997)
       Vice Chair, Defense Services Committee, ABA Criminal Justice Section (1991 - 1996)
       Promotion and Tenure Committee (Co-chair), Clinical Section
        American Association of Law Schools (1990 - 1996)
       Vice-Chair, Public Defender Committee, Oklahoma Bar Association (1991-1997)
       Oklahoma Bar Association Legal Intern Committee (1997-2001)
       Member, Oklahoma Bar Association, Mandatory Post-Admission Task Force (1997-2001)
       Member, Public Defender Committee, Oklahoma Bar Association (1991-2001)

PUBLICATIONS
     Rodney J. Uphoff, On Misjudging and its Implications for Criminal Defendants, their Lawyers and
           the Criminal Justice System, __ NEV L. J.___(2007)

       Rodney J. Uphoff, Convicting the Innocent: Aberration or Systemic Problem, 2006 WIS. L. REV.
             101

       Rodney J. Uphoff, Relations Between Lawyer and Client in Damages: Model, Typical, or
             Dysfunctional?, 1 J. Disp. Res. 143 (2004)

       Rodney J. Uphoff, Who Should Control the Decision to Call a Witness: Respecting a Criminal
             Defendant’s Tactical Choices, 68 U. CIN. L. REV. 763 (2000)

       Rodney J. Uphoff, Strategic Decisions in the Criminal Case: Who Really Calls the Shots?, CRIM.
             JUST., Fall 1999, at 4.

       Rodney J. Uphoff, Why In-House Live Client Clinics Won’t Work In Romania: Confessions of    a
             Clinician Educator, 6 CLIN. L. REV. 315 (1999)

       Rodney J. Uphoff and Peter B. Wood, The Allocation of Decisionmaking Between Defense
             Counsel and Criminal Defendant: An Empirical Study of Attorney-Client
             Decisionmaking, 47 U. KAN. L. REV. 1 (1998)


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    Rodney J. Uphoff, Edward Monahan and James Clark, Preparing the New Law Graduate to
          Practice Law: A View from the Trenches, 65 U. CIN. L. REV. 381 (1997)

    The Criminal Defense Lawyer as Effective Negotiator: A Systemic Approach, 2 CLIN. L. REV. 73
           (1995), reprinted in WISCONSIN DEFENDER (Vol. 5, No. 4, July 1997) and reprinted in Kentucky
           Department of Public Advocacy, The Advocate (Vol. 20, No. 5, September 1998)

    ETHICAL PROBLEMS FACING THE CRIMINAL DEFENSE LAWYER (Rodney J. Uphoff ed., 1995)

    Criminal Discovery in Oklahoma: A Call for Legislative Action, 46 OKLA. L. REV. 381 (1993)

    The Right To Appointed Counsel: Why Defendants In Oklahoma Still Are Unrepresented, 64
                  OKLA. B. J. 918 (1993)

    The Criminal Defense Lawyer: Zealous Advocate, Double Agent, or Beleaguered Dealer, 28 CRIM. L.
           BULL. 419 (Sept./Oct 1992), reprinted in COURTS AND JUSTICE A READER 279 (G. Larry Mays
           & Peter R. Gregware eds., 1995)

    The New Criminal Discovery Code in Oklahoma: A Two-Way Street in the Wrong Direction, 44
          OKLA. L. REV. 387(1991)

    The Role of the Criminal Defense Lawyer in Representing the Mentally Impaired Defendant: Zealous
           Advocate or Officer of the Court, 1988 WIS. L. REV. 65

    Depo-Provera for the Sex Offender: A Defense Attorney's Perspective, 22 CRIM. L. BULL. 405
          (Sept./Oct. 1986)

PRESENTATIONS

    Federal Public Defenders, Nashville, TN (Apr 6, 2007) Presenter- “Inside The Oklahoma City
             Bombing Case: The Real Story Behind The Headlines”
    Ritsumeikan University School of Law, Kyoto, JP (March 15, 2007), Keynote Speaker and
             Panelist- “Teaching Effective Trial Advocacy”
    Japan Federation of Bar Associations, Tokyo, JP (Mar 13, 2007), Keynote Speaker and Panelist-
           “Defense Activities in the Death Penalty Case in US”
    Hitotsubashi University School of Law, Tokyo, JP (Mar 11, 2007), Presenter- “Convicting the
            Innocent: Aberration or Systemic Problem”
    Hitotsubashi University School of Law, Tokyo, JP (Mar 10, 2007), Keynote Speaker and
            Panelist- “The Role of Lawyers and Legal Ethics Education”
    Miscarriages of Justice: Current Perspectives academic conference, Warrensburg, MO (Feb 19,
            2007), Speaker- “Convicting the Innocent: Why It Isn’t Just an Isolated Occurrence.”
    Washington University in St. Louis School of Law, St. Louis, MO (Nov 17, 2006), Plenary
            Presenter- “Questions for the Panel on Possible Cases of Wrongful Executions” and
            Presenter- “What are the Risks of Wrongful Executions and What is the Role of the
           Press and Academia?”
    Indiana Public Defender Council, Indianapolis, IN ( Oct 19, 2006), Speaker “Ethics for Criminal
            Defense Lawyers”


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International Education Association of South Africa ,10th Annual Conference, Keynote Speaker-
        “Reflections on 20 Years of International Cooperation between UM/UWC”, Cape
        Town, South Africa ( Sept 1, 2006) and Presenter, “UWC/UM Comparative Law
        Program: Why This Program Works”
NC Academy of Trial Lawyers, Asheville, NC(Mar. 30th- Apr.1st, 2006), Speaker- “Terry Nichols:
          Inside Looking Out”
Florida Coastal School of Law Center for Law & Public Policy Issues 2006 Forum, Jacksonville,
          FL (February 28, 2006) - Presenter - High Profile Death Penalty Cases: “Issues and
          Perspectives”
Oklahoma Bar Association Complex Criminal Law Issues, Oklahoma City, OK (December 9,
         2005) - Presenter - “Jury Selection”
Oklahoma Bar Association Complex Criminal Law Issues, Oklahoma City, OK (December 9,
         2005) - Presenter - “Ethically Dealing with the Prosecution”
Oklahoma Bar Association Complex Criminal Law Issues, Oklahoma City, OK (December 8,
          2005) - Presenter - “Ethics and Gag Orders”
Missouri State Public Defender Annual Conference, Lake of the Ozarks, MO (December 7, 2005)
          Presenter) “Inside the Terry Nichols Case”
Wisconsin Law Review Symposium, Univ. of Wisconsin School of Law (Nov. 18-19, 2005) -
         Speaker - “Convicting the Innocent - Why it is so Hard to Recognize the Systemic
         Nature of the Problem”
Colorado State Public Defender Annual Conference, Copper Mountain Resort (Sept. 19, 2005) -
         Lecturer - “Defending Terry Nichols”
Missouri State Public Defender Capital Conference, St. Louis, MO (April 27, 2005) - Lecturer -
         “Working on a Capital Defense Team: Avoiding the Pitfalls and Perils”
Missouri State Public Defender Capital Conference, St. Louis, MO (April 27, 2005) - Lecturer -
         “Inside the Terry Nichols Defense Team”
Missouri Bar CLE - Ethics in Litigation, St. Louis, MO (December 9, 2004) - Lecturer - “Key
          Issues in the Attorney-Client Privilege, the Work Doctrine, and the Ethical Duty of
         Confidentiality”
Westminster College, Fulton, MO (November 18, 2004) - Lecturer - “An Inside Look at the Terry
         Nichols Case”
University of Missouri-Columbia, Columbia, MO (November 18, 2004) - Lecturer - “The News
          Media and the Terry Nichols Trial”
Indiana Public Defender Council, Indianapolis, IN (October 22, 2004) - Lecturer - “Ethics for
          Criminal Defense Lawyers”
NACDL’s 2004 Fall Meeting, Atlanta, GA (October 15, 2004) - Lecturer - “Ethical Dilemmas
          Facing Today’s Criminal Defense Lawyer”
University of Missouri-Columbia, Columbia, MO (October 5, 2004) - Lecturer - “State vs. Terry
          Nichols: An Inside Look at the Oklahoma Bombing Case” - Faculty Colloquium
Winston S. Howard Distinguished Lecture at the University of Wyoming, Laramie, Wyoming
          (September 24, 2004) - Lecturer - “An Inside Look at Oklahoma v. Terry Nichols:
           Justice Denied or Justice Done?”
University of Missouri-Columbia, Columbia, MO (September 14, 2004) - Lecturer - "State vs.
          Terry Nichols: An Inside Look at the Oklahoma Bombing Case"
University of Missouri-Columbia, Columbia, MO (September 10, 2004) - Lecturer - “Bridging the
           Gap From Law School to Practice”
Missouri State Public Defenders Client Counseling Workshop, St. Louis, MO (August 27, 2004) -
            Facilitator - “Ethical Dilemmas in Client Counseling”
New York State Defenders Association, 17th Annual Metropolitan New York Trainer, NYC, NY

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           (Mar 8, 2003) - Lecturer “Ethical Issues in Criminal Defense Practice”
MO State Public Defender Winter Workshop, 2002, Lake of the Ozarks, MO (Dec 11-13, 2002) -
            Co-Presenter - “Ethical Defense Investigation” and “Ethical Dilemmas in Negotiation”
MO Bar CLE, Kansas City, MO (Dec. 13, 2002) - Lecturer - “Attorney Disqualification Disputes:
           Standing and Common Issues”
Wisconsin State Public Defender Annual Conference, Milwaukee, WI (Sept 27, 2002) - Lecturer -
           “Striking Hard Blows or Foul Ones: Ethical Lessons From High Profile Cases” and
           Moderator of Panel “A View From Both Sides: Prosecutor and Defense Views on Ethical
         Issues”
University of Western Cape, Cape Town, South Africa (August 5 - 9, 2002) - Lecturer - “Death
          Penalty in the United States” and “The American Criminal Justice System: Lessons
         from the Oklahoma City Bombing Case”
AALS Conference on Clinical Legal Education, Pittsburgh, PA (May 18 - 22, 2002) - Panelist -
          “Using Clients’ Voices in Scholarship”
 The 6th Annual Missouri Criminal Law Institute, Columbia, MO (May 10 - 11, 2002) - Presenter -
         “Hot Topics in Criminal Procedure”
Missouri State Public Defender,2002 Ethics & Professionalism Workshop, Jefferson City, MO
          (April 26, 2002) - Presenter - “Criminal Defense Ethics: Dealing With Evidence That Is
          Too Hot To Handle, Witness Perjury & Ethics Roundtable”
Harvard Law School’s Criminal Justice Institute/ New England Innocence Project, Wrongful
          Convictions: A Call to Action Harvard Law School, (April 19-20,2002) - Panelist -
         “Assistance of Counsel– Theory and Reality” and “ Junk Science and Wrongful Convictions”
Second Annual Access to Equal Justice Conference, Washington Univ. School of Law, St Louis, MO
         (Feb. 15, 2002)-Panelist- “Envisioning a Future with Access to Equal Justice”
Univ. of Missouri-Columbia and Shook, Hardy & Bacon, Elwood L. Thomas Lecture, Kansas
          City, KS (November 30, 2001) - Lecturer “The Ethics of Surreptitious Taping”
AALS, Workshop on Clinical Legal Education, Montreal, Canada (May 12, 2001) - Panelist - “The
          Joys and Sorrows of Collaborative Scholarship”
Mamara University, Istanbul, Turkey, (December 18-22, 2000) Conference on Clinical Legal
          Education - Speaker and Co- Organizer of Conference
AALS and University of Arkansas, Fayetteville, Arkansas (November 17, 2000) Equal Justice
          Colloquium - Presenter - “A Snapshot of Access to Justice at the Dawn of the 21st Century”
New York State Defenders Association, Annual Meeting and Training Conference, Kerhonkson,
          New York (July 29, 2000) - Speaker “Dealing with Experts Ethically”
Criminal Defense Institute, Norman, OK (June 29, 2000) - Speaker, “Ethical Highlights and
          Lowlights” Wisconsin Association of Criminal Defense Lawyers Ethics Conference,
Madison, Wisconsin (December 11, 1999) - Speaker, “The Ethics of Plea Bargaining”
New York State Defenders Association, Regional Training Conference, Rochester, New York
          (November 20, 1999) - Speaker, “Criminal Defense Ethical Issues”
Midwest Clinical Conference, Madison, Wisconsin (November 5, 1999) Presenter, “The Dangers
          of Proselytizing: International Exchanges of Ideas on Clinical Education”
Oklahoma Bar Association, Dallas, Texas (October 8, 1999) Presenter and Panelist,
        “Professionalism”
New York State Defenders Association, Annual Meeting and Training Conference, Glens
         Falls, New York (July 31, 1999) - Presenter, “Criminal Defense Ethical Issues”
Criminal Defense Institute, Norman, OK (June 24, 1999) - Moderator, Ethics Panel Discussion
Vasile Goldis University, Arad, Romania (Nov. 4, 1998) - Lecturer “The Meaning of Clinical Legal
        Education” Tibiscus University, Timisoara, Romania (Oct. 24, 1998) - Lecturer “The
        Prospects for Clinical Legal Education in Romania”

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Babes Bolyai University, Cluj, Romania (Oct. 6, 1998) - Lecturer “Clinical Legal Education - Past,
        Present and Future”
Criminal Defense Institute, Norman, OK (June 25-26, 1998) Co-Organizer of Conference,
“Defending Your Client Without Expert Assistance: Is It Unethical?”
Kentucky Department of Public Advocacy’s 26th Annual Public Defender Conference, Lexington,
        Kentucky (June 15-17, 1998) Presenter “The Criminal Defense Lawyer As Effective
        Negotiator - A Systemic Approach” and “Ethical Problems Facing the Criminal
       Defense Lawyer”
California Attorneys for Criminal Justice / California Public Defender Association, Monterey,
        California (February 14, 1998) - Presenter "The Ethics of Obtaining Expert Services
        for Trial: Prioritizing Limited Resources"
Criminal Defense Institute, Norman, OK (August 21-22, 1997) -Co-Organizer of Conference,
        Moderator and presenter on Plea Bargaining & Attorney/Client Decision Making
National Legal Aid and Defender Association Advocacy Institute, Albuquerque, NM (August 10-
        15, 1997) - Keynote Address "Client-Centered Decision Making"
AALS, 1997 Workshop on Clinical Legal Education, Dallas, Texas (May 3-6, 1997), - Presenter
        “New Teachers: I Survived My First Year, Now What Do I Do?”
Southern Sociological Society Annual Meeting, New Orleans, Louisiana (April 6, 1997) "Power
        and Control in the Attorney-Client Relationship: A Survey of 700 Public Defenders"
National Legal Aid and Defender Association Annual Conference, Las Vegas, Nevada (November
         11, 1996) - Speaker "Conflict of Interests in Defender Offices"
Wisconsin State Public Defender Annual Conference, Milwaukee, WI (Oct. 31, 1996), - Moderator
         of Panel on "Cultural Awareness, Race and Client Centered Decision Making"
Criminal Defense Institute, Norman, OK (June 6-7, 1996) - Co-Organizer of Conference,
         Moderator and presenter on “Dealing with Ethical Dilemmas”
National Association of Sentencing Advocates, Charlotte, NC (May 31, 1996), - Speaker “Lawyers
          and Social Workers: Resolving Ethical Dilemmas”
Wisconsin State Public Defender Annual Conference, Oconomowoc, WI (Oct. 19, 1995) -
         Speaker - “Defense Counsel & The Expert Witness: Problems and Pitfalls”
Univ. of Oklahoma Continuing Legal Educ., Norman, OK. (Sept. 22-23, 1995) Lecturer -
        “Interviewing, Counseling, Negotiation, Mediation and the American Civil Trial
          Process”
Okla. Criminal Defense Lawyers Assoc./State Bar of Oklahoma, Advanced Criminal Law and the
          Death Penalty, Oklahoma City, OK. (August 17, 1995) Panelist - "Model Rule 4.2 and
         the Thornburgh Memorandum"
Univ. of Oklahoma Continuing Legal Educ., Norman, OK. (July 6-7, 1995) Lecturer -
          “Interviewing, Counseling, Negotiation, Mediation and the American Civil Trial Process”
Criminal Defense Institute, Norman, OK (June. 8-9, 1995) - Moderator and presenter on “Ethical
          Pitfalls in the Preparation and Investigation of Criminal Cases”
Mid-West Clinical Legal Education Teachers Conference, Lawrence, KS (Nov. 4-5, 1994) -
          Panelist “Educating Students With Special Needs”
Wisconsin State Public Defender Annual Conference, Oconomowoc, WI (Oct. 6-7, 1994) -
          Speaker “The Ethics of Investigation and Discovery” and “The Ethics of Handling
          Physical Evidence”
University of Oklahoma Continuing Legal Education, Oklahoma City, OK (Sept. 23, 1994) -
          Speaker “The Active Academician's View of the New Discovery Code”


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    Criminal Defense Institute, Norman, OK (June 9-10, 1994) - Moderator and presenter on “The
             Ethics of Handling Physical Evidence”
    Wisconsin State Public Defender Annual Conference, Oconomowoc, WI (Oct. 22, 1993) -
             Speaker - “Recognizing and Resolving Ethical Conflicts”
    Criminal Defense Institute, Norman, OK (June 24-26, 1993) - Co-organizer of conference,
             moderator and presenter on “Recognizing and Dealing with Prosecutorial Misconduct”
    AALS, Conference on Clinical Legal Education, Washington, D.C. (May 6-8, 1993) Group
             Facilitator
    University of Oklahoma Faculty Colloquium on Thurgood Marshall (February 22, 1993) -
            Presenter
    Wisconsin State Public Defender Annual Conference, Oconomowoc, WI (Oct. 1, 1992) - Speaker
            - “Ethical Dilemmas for Criminal Defense Lawyers”
    National Legal Aid and Defender Association Annual Meeting, Toronto, Canada (Nov. 11, 1992) -
             Moderator of Panel on Ethical Dilemmas for Public Defenders
    AALS, Section on Clinical Legal Education, Annual Meeting, San Antonio, TX (Jan. 4, 1992) -
            Group facilitator of discussion group on tenure criteria
    National Legal Aid and Defender Association Annual Meeting, Portland, OR (Oct. 30, 1991) -
            Panelist on Criminal Defense Ethics
    Title IX National Evaluation Conference, Des Moines, IA (Sept. 27-30, 1990) - Group facilitator
             at conference evaluating clinical legal education

OTHER ACTIVITIES & AWARDS

    Director, University of Missouri-Columbia Summer Study Abroad Program in Capetown, South
             Africa (June/July 2004)(June/July 2005) & June/July 2006)
    BLSA Faculty Advisor (2004 - 2005)
    Blackwell Sanders Peper Martin Distinguished Faculty Award (2002)
    Advisory Board, Effective Lawyer Client Communications Project (1998 - 2002)
    ABA Central and East European Law Initiative (CEELI) - Legal Specialist (Romania, Sept.-Nov.
             1998)
    Co-coach O.U. Law School National Trial Team (1990 - 1994)
    Co-Principal Investigator, Department of Education Clinical Legal Education Grants (1991-1993)
             (1994-1996)
    University of Oklahoma Student Association Outstanding Law Professor (1994)
    Director, University of Oklahoma College of Law Summer Program at Oxford, England (1996)
    Handled two investigations for Wisconsin Judicial Commission (1986, 1987)
    Member, International Rotary Group Study Exchange to S.W. France (March 1996)
    Law School's Nominee for the Merrick Teaching Award (1994, 1996)
    Member, ABA Site Evaluation Team (St. Thomas University Law School) (March 25-27, 1998)
    Member, Terry Nichols Defense Team - Oklahoma City Bombing State Trial (1999 - 2004)




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